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UNITED STATES COURT OF INTERNATIONAL TRADE


 VIRTUS NUTRITION LLC,

                                                    Plaintiff,                     SUMMONS
                                  v.
                                                                                   Court No. 21-165
 THE UNITED STATES

                                                    Defendant.


TO:    The Attorney General and the Secretary of the Treasury:

        PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C. 1581(a) to
contest the denial of the protest specified below (and the protests listed in the attached schedule).

                                                            /s/ Mario Toscano
                                                            Clerk of the Court

                                                          PROTEST
  Port of                                                          Date Protest
  Entry: 2809 San Francisco, CA                                    Filed:       March 31, 2021

  Protest                                                          Date Protest
  Number: 2809-21-108203                                           Denied:      April 7, 2021

  Importer: VIRTUS NUTRITION, LLC

  Category of merchandise: Palm fatty acid distillates and palm stearin

                                   ENTRIES INVOLVED IN ABOVE PROTEST
      Entry Number          Date of         Date of                Entry Number        Date of         Date of Liquidation
                            Entry           Exclusion                                  Entry
      808-2100373-0         02/10/2021      03/23/2021




 US Customs & Border Protection                                             John M. Peterson.
 555 Battery Street, Room 319
                                                                            Neville Peterson LLP
 San Francisco, CA 94111
                                                                            One Exchange Plaza at 55 Broadway
                                                                            New York, New York 10006
                                                                            (212) 635-2730
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                                  CONTESTED ADMINISTRATIVE DECISION
                                                Appraised Value of Merchandise

                                                         Statutory Basis                            Statement of Value

  Appraised:




  Protest Claim:




                                                Classification, Rate or Amount
                                   Assessed                                         Protest Claim

  Merchandise                Paragraph or Item                 Rate               Paragraph or Item                Rate
                                 Number                                               Number




                                                              Other

  Exclusion of merchandise from entry pursuant to 19 U.S.C. §1307 for claimed violation of Withhold Release Order addressed to
  palm oil products made by Sime Darby Plantation Bhd.




  The issue which was common to all such protests:
  Whether the goods are subject to exclusion pursuant to 19 U.S.C. §1307.




Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person in
his behalf. The category of merchandise specified above was involved in each entry of merchandise included in every such
denied protest. The issue or issues stated above were common to all such denied protests. All such protests were filed and
denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at the port of entry
unless otherwise shown.

                                                             /s/ John M. Peterson
                                                           Signature of Plaintiff’s Attorney

                                                           April 15, 2021
                                                           Date
